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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO.: 19-cv-20216-JAL

JESSICA RAMIREZ,

       Plaintiff,

vs.

OMBS SECURITY SYSTEM LLC, a Florida limited
liability company, and ELLINGTON OSBORNE,

      Defendants.
______________________________________/
  ______________________________________________________________________________

                       PLAINTIFF’S STATEMENT OF CLAIM
  ______________________________________________________________________________

          COMES NOW Plaintiff, JESSICA RAMIREZ (“RAMIREZ”), by and through the

  undersigned attorney, and hereby files her Statement of Claim of unpaid minimum and overtime

  wages, pursuant to Court Orders [DE 13] and [DE 15]. At this time, Plaintiff is not in possession

  of all of her time and pay records throughout the relevant time periods, and reserves her right to

  amend as litigation proceeds.

          Period Claimed: The relevant time period for RAMIREZ’s claim is the three years

          preceding the filing of her complaint, January 15, 2016 to September 29, 2017,

          approximately.

          Weeks: 89, approximately.

  1. Hours Worked: Plaintiff was not fully paid for all of the hours she worked each workweek

      for one or more workweeks during the relevant time period, because: (a) Defendants altered

      Plaintiff’s timecard entries, affecting the records of the hours she worked; (b) Defendants

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     subtracted time from the hours Plaintiff worked for lunch breaks Plaintiff never took; and (c)

     Defendants subtracted time from the hours Plaintiff worked for lunch breaks Plaintiff worked

     during, and did not actually take a break from work.

 2. Plaintiff estimates she is owed: (a) two (2) hours per week of pay (one hour of regular time,

     one hour of overtime) (an average of four (4) ½ hour lunch breaks) which she either never

     took or took at her desk and worked through; and (b) two (2) hours per week of overtime pay

     (an average of four (4) hours of overtime pay per biweekly paycheck) for hours not recorded

     or recorded on a time card but not paid.

     Applicable Wage: Plaintiff was a non-exempt, hourly employee who worked for Defendants

 at their security company as, during the relevant time period, an administrative assistant. Plaintiff

 was paid at a variety of wage rates during her employment, but because she does not have all of

 her time and pay records, she will use her most recent rate of pay, $14.00, as her regular rate of

 pay. Therefore, Plaintiff is owed damages as outlined below, and for an equal amount of

 liquidated damages, plus reasonable attorney’s fees and costs.


 UNPAID WAGES OWED – 2016

                  Weeks Worked       Unpaid Hrs/Wk        Total Hrs       Wage Owed          Wage Owed
 Min. Wage        50                 1                    50              $8.05              $402.50
 OT Wage          50                 3                    150             $21.00             $3,150.00
                                                                      TOTAL: $3,552.50

 UNPAID WAGES OWED – 2017

                  Weeks Worked       Unpaid Hrs/Wk        Total Hrs       Wage Owed          Wage Owed
 Min. Wage        39                 1                    39              $8.10              $315.90
 OT Wage          39                 3                    117             $21.00             $2,457.00
                                                                      TOTAL: $2,772.90




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         Total estimated damages for minimum wage violations, overtime wage violations, plus

 an equal amount of liquidated damages due Plaintiff, is $12,650.80 ($6,325.40 x 2).

         These estimates are being provided without the benefit of the Plaintiff’s complete time

 records, pay records, schedules, and other documents relevant to the damages calculations and,

 therefore, Plaintiff reserves the right to amended once those records are obtained.


         Respectfully submitted this 21st day of March, 2019.


                                          By:      s/Robert W. Brock II
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                                                   Attorney for Plaintiff



                                    CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on March 21, 2019, I electronically filed the foregoing
 document via CM/ECF. I also certify that the foregoing document is being served this day on all
 counsel of record or pro se parties identified in the attached Service in the manner specified,
 either via transmission of Notices of Electronic Filing generated by CM/ECF, or in some other
 manner for those counsel or parties who are not authorized to receive electronic Notices of
 Electronic Filing.
                                          By:      s/Robert W. Brock II
                                                   Robert W. Brock II, Esq.




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